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                                                LOAN AGREEMENT


                  This LOAN AGREEMENT, dated as of August 27, 2010 by and betweep. the PUERTO
          RJCO IDGHWAY AND TRANSPORTATION AUTHORITY {the "Authority" or the
          "Borrower") and GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the
          "Bank" or the "Lender''),

                                                 WITNESSETH

                  WHEREAS, the Authority is in need of obtaining financing_ to satisfy its obligations to (i)
          pay certain costs incurred or to be incurred in the acquisition, construction, equipping, installation
          and development of certain capital improvements to the Authority's facilities including those in its
          Construction improvement Program for fiscal. year 2010 and 2011, and paying certain costs
          associated with the automatization of the Authority's toll collection systems (collectively, the
          "Project"), and (ii) pay certain other suppliers of the Authority;

                  WHEREAS, the Authority h@s requested that the Bank provide such financing on an
          interim basis;

                  WHEREAS, on July 29, 2010 the Bank issued its $151,259,000 Senior Notes, 2010 Series
          B (Issuer Subsidy Build America Bonds) (the "GDB Notes") to, among other things, fund a portion
          ofthls interim financing to be used to :finance capital expenditures of the Authority;

                  WHEREAS, the Authority mtends to repay this interim financing with the proceeds of a
          future bond issuance of the Authority, any proceeds available after the concession pursuant to the
          provisions of Act 29 of JW1e 8, 2009, the Public Private Partnerships Act, of certain of its assets, or
          any other available resources of the Authority;

                 WHEREAS, the Bank is willing to provide such financing, but in an amount not to exceed
          $118,300,000 in accordance with the terms and conditions herein below set forth, which the Bank
          understands will be enough to cover the immediate and urgent need of funds of the Authority;

                  WHEREAS, the Borrower and the Lender .intend that this Loan Agreement and the Loan be
          subject to the terms of the Fiscal. Oversight Agreement, dated as of July 6, 2009, as may be
          amended from time to time, between the Lender and the Borrower (the "Fiscal Oversight
          Agreement");

                 NOW, THEREFORE, in consideration of the premises and for other good and valuable
          consideration. the receipt and sufficiency of which are hereby acknowledged, the parties hereto
          agree as follows:

             1. Subject to the terms and conditions contained herein, the Lender hereby agrees to make
                non-revolving advances to the Borrower {each, an "Advance") under a non-revolving line
                of credit in an aggregate principal amount not to exceed ONE HUNDRED EIGHTEEN
                MILLION THREE HUNDRED THOUSAND DOLLARS ($118,300,000) (the




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                   "Loan") for the purpose of (i) paying certain costs incurred or to be incurred in the
                   acquisition, construction, equipping, installation and development of certain capital
                   improvements to the Authority's facilities, which shall not exceed $14,435,604.25 and
                   $30,402,045 for fiscal years 2010 and 2011, respectively; and paying certain costs
                   associated with the automatization offue Authority's toll co1lection system.'!, which shall not
                   exceed:$26,100,000 (collectively, the "Capital Expenditures"); and (iii) paying certain other
                   operating expenses of the Authority, as authorized by the Lender, up to $47,362,350.75 (the
                   "Operating Expenses" and, together with the Capital Expenditures, the "Permitted
                   Expenses").

               2. The Borrower shall use each Advance only for the payment or reimbursement of Permitted
                  Expenses (as defined herein), as such Permitted Expenses are incurred by the Borrower and
                  within the maximum limits established in the Borrower's Fiscal Improvement Plan (as
                  defined in the Fiscal Oversight Agreement) and the 2010-2013 Plan (collectively, the
                  "Borrower's Plan"). Permitted Expenses shall be deemed to have been "incurred" by the
                  Borrower (i) when the labor has been performed or the materials have been supplied to the
                  Borrower, (ii) payment therefor has been requested by thf; supplier thereof, and (iii) such
                  supplier is entitled to the payment.

               3. The Loan shall be evidenced by two Promissory Notes in an aggregate principal amount
                  of not to exceed ONE HUNDRED EIGHTEEN MILLION THREE HUNDRED
                  THOUSAND DOLLARS ($118,300,000). One shall be used to fund the Capital
                  Expenditures (the "HTA BAB Note") and the other to fund the Operating: Expenses (the


       t          ''HTA Operating Note") mentioned in Section 1 above. Both Promissory Notes shall be
                  substantially in the form attached hereto as Exhibit A, subscribed on this same date by the
                  Borrower and payable to the order of the Lender. Each borrowing made by the Borrower
                  under Section 1 above (a "Borrowing") shall reduce the amount of the Loan ratably by
                  the principal amount of such Borrowing.

               4. Unless otherwise agreed to by the Lender, the Borrower may request an Advance in writing
                  by not later than 11 :00 a.m. (Puerto Rico time) at least three (3) Banking Days prior to the
                  date of the proposed Advance by an authorized representative of the Borrower and shall
                  specify the (i) requested date of such Advance, (ii) aggregate amount of such Advance, and
                  (iii) a list of suppliers or service providers to be paid with the proceeds of such Advance, the
                  address of each such supplier or service provider, the number or other method of
                  identification of the invoices being paid and the amount being paid with respect to each such
                  invoice, and shall include a copy of all such invoices. The Lender shall fund the requested
                  Advance on the date requested in such notice (which must be a Banking Day) and indicate
                  under which Note the Advance is been funded. Each request for an Advance given by the
                  Borrower to the Lender shall be in the form attached hereto as Exhibit B. A request for an
                  Advance from the Borrower, once received by the Lender, shall be irrevocable and binding
                  on the Borrower. For the purposes of this Loan Agreement, "Banking Day" means any day
                  on which commercial banks are open for business in San Juan, Puerto Rico.

               5. The principal amount ofthe Loan shall mature and be due and payable on August 27, 2013.
                  Said principal amount shall be payable solely from proceeds of bonds to be issued by the
                  Authority pursuant to the provisions of the respective sections of the Resolutions; proceeds


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                from the concession of any of the Authority's assets pursuant to the provisions of Act 29 of
                June 8, 2009, the Public Private Partnerships Act, or from any available resources of the
                Authority. Each Advance shall bear interest daily from the date of disl?ursement until paid in
                full at a fluctuating annual rate of interest equal to one and one half percent (1.5%) over and
                above the Prime Rate, as determined from time to time in good faith by the Lender, or, upon
                written notice to the Borrower, at a variable rate    of   interest, which interest rate may be
                revised quarterly, per   annum   equal  to the  Lender's cost  of funding for variable rate loan
                t:ansactions or the cost of any other obligations or source of funds used to fund the Advance.
                For purposes of the preceding sentence, the cost of funding shall mean the applicable cost of
                any source of funds used to fund the Loan, plus in either case, a required margin cost.
                Initially, this required margin cost will be equal to 150 basis points. The required margin
                cost may be revised from time to time by the Lender to such an extent that when added to
                the applicable oost of funds, the interest rate so detenni.ned and applicable to an Advance
                will provide for a total coverage of what the Lender determines to be its "all-inclusive"
                funding costs. For purposes of this Loan Agreement, the applicable interest rate shall not
                 exceed twelve (12) percent and shall not be less than six (6) percent

                Anything hereunder to the contrary notwithstanding, and without prejudice to any remedies
                of the Lender provided hereunder or at law or in equity, the interest rate applicable to the
                outstanding principal amount of each Advance during any period when an Event of Default
                shall have occurred and be continuing shall be four percent (4.0%) over the otherwise
                applicable interest rate (fue "Default Rate").

                Interest shall be payable monthly in arrears not later than the tenth Banking Day following
                receipt from the Bank of the statement referred to in the next sentence of this paragraph,
                from any available moneys of the Authority. Each month the Bank shall furnish to the
                Authority a written statement showing the amount of interest due and payable by the
                Authority on all outstanding Advances for the preceding month. The Loan shall be junior
                and subordinate to outstanding bonds of the Authority and sh.all be subject to certain other
                terms and conditions, as set forth in this Loan Agreement. Payment of principal and
                interest on the Loan shall be made in any coin or currency of the United States of
                America, which at the time of payment shall be legal tender for the payment of public
                and private debts.

             6. The Borrower will pay a fee equal to .25% of the principal amount of the Loan on or
                prior the closing date.

             7. Notwithstanding anything el~e in this Loan Agreement, drawings under the Loan shall be
                conditioned on the retention by the Authority, at the Authority's expense, of (i) a
                financial consultant, (ii) an engineer consultant; (iii) a corporate reorgrurlzation consultant;
                and (iv) any other consultants deemed necessary and convenient by GDB, all reasonably
                acceptable to, and approved by, the Lender, to provide to the Bank a Fiscal Stabilization
                Plan for the Borrower, in form and substance acceptable to the Bank, not later than 90
                days following the date ofthis Loan Agreement.




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            8. If there is no disbursement activity on this Loan for a period of six months after its
               approval by the Board of Director ·of the Bank, the loan shall be cancelled automatically.

            9. If the Borrower (i) issues and sells bonds, notes or other evidences of indebtedness; or (ii)
               enters into a concession agreement or other form of public-private partnership 'With respect
               to any of its assets pursuant to the provisions of Act 29 of June 8, 2009, the Public Private
               Partnerships Act; in each case in one or more transactions yielding aggregate net proceeds in
               an amount equal to or greater than the amount of then outstanding Advances, the Borrower
               shall on the day of such sale (or if a series of sales, on the day of each such sale), prepay all
               then outstanding advances; provided, however, that no prepayment shall be required in
               connection with the re:funcling of indebtedness existing on the date hereof and set forth in
               Schedule 9 and extensions, renewals or replacement of such indebtedness that do not
               increase the outstanding principal amount thereof.

               The Borrower shall use reasonable commercial efforts to issue and sell bonds; notes or other
               evidences of Indebtedness in one or more transactions yielding aggregate net proceeds
               sufficient to require the Borrower to prepay the outstanding principal amount of Loan as set
               forth above, as soon as practical but no later than the Maturity Date without the Lender's
               consent
            10. The Borrower shall have fue right at any time and from time to time to prepay any
                Borrowing in whole or in part, without penalty or premium, subject to prior notice in ·
                accordance 'With the next sentence. The Borrower shall notify the Lender by telephone
                (confirmed by fax) of any prepayment hereunder not later than 11 :00 a.m., Puerto Rico ti.me,
                five (S) Business Days before the date of prepayment. Each such notice shall be irrevocable
                and shall specify the prepayment date and the principal amount of each Borrowing or
                portion thereof to be prepaid. . Each prepayment of a Borrowing shall be made to the
                Lender and applied rat.ably to the Advances included in the prepaid Borrowing.
                Prepayments shall be applied first to interest due and payable if any, and then to principal of
               the Loan.

            11. This Loan Agreement and the Loan are subject to the terms· of the Fiscal Oversight
                Agreement. The Lender and the Borrower agree to execute any required amendments to the
                Fiscal Oversight Agreement to evidence their agreement. The Borrower shall from time to_
                time, upon request bythe Lender, promptly provide the Lender 'With such information as to
                its finances and operations as the Lender shall reasonably request pursuant to the terms of
                the Fiscal Oversight Agreement.

            12. No amendment or waiver of any provisions of this Agreement or consent to any departure
            · by the Borrower herefrom shall be effective unless the same shall be in writing and
                signed by the Lender and then such waiver or consent shall be effective only in the
                specific instance and for the specific purpose for which given.
            13. The representations and warranties made by the Borrower to the Lender under that
                certain Credit Agreement, dated as of July 6, 2009 (the "Credit Agreement"), by and
                between the Borrower and the Lender, as lender and administrative agent are hereby
                incorporated into this Loan Agreement as made on the date hereof.




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            14. If any of the follov.ring events ("Events of Default'►) shall occur:

                    (a) the Borrower shall fail to pay any principal of any Advance or any interest on any
                Advance when and as the same shall become due and payable, whether at the due date
                thereof or otherwise;

                    (b) the Borrower shall fail to pay any fee or any other amount (other than an amount
                referred to in clause (a) of this Article) payable under this Loan Agreement when and as
                the same shall become due and payable, and such failure shall continue unremedied for a
                period of three (3) Business Days;

                    (c) the Borrower shall become unable, admit in writing its inability or fail generally
                to pay its debts as they become due;

                   (d) the Borrower shall have default.ed in its obligations under the Fiscal Oversight
                Agreement, hut only for so long as the Bank continues to be a lender hereunder; or

                    (e) the occurrence of an event of default under the Credit Agreement, the Indenture or
                any Bond Resolution (as defined in the Credit Agreement); or any other financing
                provided by the Lender

                then, and in every such event, and at any time thereafter during the continuance of such
                event, the Lender shall, by notice to the Borrower, take either or both of the following
                actions, at the same or different times: (i) terminate the Loan immediately, and (ii)
                declare the Advances then outstanding to be due and payable in whole (or in part, in
                which case any principal not so declared to be due and payable may thereafter be
                declared to be due and payable) and thereupon the principal ·of the Advances and other
                amounts so declared to be due and payable, together with accrued interest thereon and all
                fees and other obligations of the Borrower accrued hereunder, shall become due and
                payable immediately, without presentment, demand, protest or other notice of any kind,
                all of which are hereby waived by the Borrower.

                In case of recourse to the courts by the Lender in order to collect the whole or any portion
                of the principal or interest due, the Borrower agrees to pay a liquidated sum equal to 10%
                of the amount of the Loan to cover · expenses of such proceedings, court costs,
                disbursements and attorney's fees, which amount will become immediately due and
                payable upon the filing of such judicial proceedings.

             15. The following tax covenants shall apply to HTA BAB Note funded with the proceeds of
                 the GDB Notes:                            .

                    (a) The Bank and the Borrower understand that it is the int.ention hereof that the
                GDB Notes shall maintain their status as Build America Bonds under Section 54AA(g)
                of the U.S. Internal Revenue C-Ode (the "Code") and that the Bank will be entitled to
                apply for and receive the interest subsidy provided under Section 6431 of the Code. In
                furtherance thereof, the Borrower agrees that it will take all action within its control




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                whlch is necessazy in order for the GDB Notes to retain their status as Build America
                Bonds and shall refrain from taking any action which results in the GOB Notes failing to
                continue to qualify as Build America Bonds.

                    (b) The Bank and Borrower understand tlmt it is the intention hereof that the HTA
                BAB Note shall be a tax-exempt obligation the interest on which is excluded from gross
                income for federal income tax purposes under Section 103 of the Code. In :furtherance
                thereof, the Borrower agrees that it will take all action within its control which is
                necessazy in order for the interest on the HTA BAB Note to remain excluded from
                federal .gross income and shall refrain from taking any action which results in such
                interest becoming included in federal gross income.

                   (c) The Borrower will coordinate with the Bank the execution and filing of an IRS
               Fonn 8038-G evidencing the issuance of the HTA BAB Note on the closing date of the
               HTA BAB Note. The Borrower agrees to file any additional reports that are required to
               be filed by the Borrower with the IRS with regard to the HTA BAB Note or the GDB
               Notes. Tue Borrower agrees to provide the Bank with aU material and infonnation
               necessazy for the Bank to file all reports required under the Code to assure that the GDB
               Notes retain their status as Build America Bonds and that interest paid- by the Borrower
               on the HTA BAB Note shall be excluded from federal gross income.

                   (d) Tue Borrower agrees that all proceeds derived from the HTA BAB Note,
               including any investment earnings thereon, shall be used only to pay costs of a type that
               are properly chargeable to the capital account of the Borrower (o:r would be so
               chargeable wi1h a proper election or with the application of the definition of placed in
               service under Treas. Reg. Section l.150-2(c)) under general Federal income tax
               principles.                                    ·

                    (e) The Borrower will not use proceeds of the Loan to pay working capital
               expenditures, pay fees associated with the HTA BAB Note, pay principal or interest on
               any debt obligation or lease payment on any lease obligation, to make any grant, to make
               or finance any loan to any person or entity, or to establish a debt service reserve fund.
                   (f) The Borrower intends to use_ the proceeds of the Loan to obtain reimbursement
               for capital expenditures paid prior to the d!lte of closing hereof. The Borrower will not
               use proceeds of the Loan to reimburse capital expenditures with respect to the Project
               unless: (i) the reimbursements are for capital expenditures paid after the date that is 60
               days before the Borrower adopted a valid reimbursement resolution, or the capital
               expenditure qualifies as a "preliminary expenditure" or "de rninmtls expenditure" under
               Treas. Reg. Section 1.150-2, and (ii) the reimbursement allocation is made not later than
               18 months after the later of the date the original capital expenditure was paid or the date
               the Project is placed in service or abandoned, but in no event more than 3 years after the
               original capital expenditure was paid.
                  (g) The Borrower is the owner of the Project for federal income tax purposes and
               expects to be tl;J.e owner of the Project for the entire term of the Loan.




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                        (h) The Borrower reasonably expects that the HTA BAB Note will meet neither the
                   private business tests of Section 141 (b) of the Code, nor .the private loan financing test of
                   Section 141(c) of the Code, for the entire term of the HTA BAB Note. Except as
                   otherwise advised by bond counsel, the Borrower will not enter into any lease with or
                   otherwise grant special legal entitlements to any entity other than a governmental entity
                   or any management or service contract -with any entity other than a governmental entity
                   for the operation of any portion of the Project unless the management or service contract
                   complies with the requirements of Revenue Procedure 97-13 or such other authority as
                   may control at the time.

                       (i) The Borrower agrees to calculate and pay any rebate or yield reduction payments
                   at the times and in the amounts that are required to be made to the Internal Revenue
                   Service under Section 148 of the Code and the Treasury Regulations thereunder with
                   respect to gross proceeds ofthe HTA BAB Note.

                       (i) The Borrower will not take or omit to take any action which will adversely affect
                   the exclusion from gross income of the interest on the HTA BAB Note under the Code,
                   including any action or omission which will cause the HTA _BAB Note to be an
                   "arbitrage bond" within the meaning of Section 148 of the Code.

                        (k) The Borrower has entered into, or will enter into -within six (6) months after the
                   closing date, substantial binding obligations to a third party to expend an amount equal to
                   at least fi;ve percent (5%) of the net proceeds of the Loan on the Project.

                       (1) The acquisition and construction of the Project and the allocation of the net
                   proceeds of the Loan to expenditures will commence and will proceed with due diligence
                   to completion.

                       (m) It is estimated that the Project will be acquired or constructed and ready for use
                   by a date not later than three years from the closing date. All of the proceeds of the Loan
                   are expected to be allocated to expenditures on· the Project within three (3) years of the
                   closing date.

                       (n) Any amounts deposited to accounts held or used by the Borrower for the payment
                   of debt service on the HTA BAB Note wiU be used within 13 months of the date of
                   deposit and any amounts received from the investment of such amounts will be used
                   within one year from the date of receipt to pay debt service on or redeem the HTA BAB
                   Note. Amounts so deposited will be used primarily to achieve a proper matching of
                   revenue and debt service on the HTA BAB Note within each year. Amounts so
                   deposited will be depleted at least once a year except for a reasonable carry over amount
                   not to exceed the greater of (i) one year's earnings on such fund for the immediately
                   preceding HTA BAB Note year or (ii) one-twelfth of annual debt service on the HTA
                   BAB Note for the immediately preceding HTA BAB Note year.
                      (o) The Borrower does not expect to create or establish any sinking fund or similar
                   fund with respect to the HTA BAB Note. No amounts in the accounts or funds of the
                   Borrower are reserved or pledged for HTA BAB Note payments and it is not expected


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                 that any accounts or funds will be used, nor is there any reasonable asSlliance that any
                 portion of any accounts or funds will be available for HTA BAB Note payments if the
                 Borrower encounters financial difficulty.

                     (p) No amount of the proceeds of the Loan will be .invested in nonpurpose
                 investments having a substantially guaranteed yield for four years or more.

                    (g) The Borrower reasonably expects that the average maturity of the HTA BAB
                 Note will not exceed one hundred and twenty percent (120%) of the average reasonably
                 expected economic life, of the Project based on when such Project is in fact acquired or
                 constructed.

                      (r) The payment of principal and interest with respect to the HTA BAB Note will not
                 ·be guaranteed (in whole or in part) by the United States or any agency or instrumentality
                  of the United States. The proceeds of the HTA BAB Note, or amounts treated as
                  proceeds of the HTA BAB Note, will not be invested (directly or indirectly) in federally
                  insured deposits or accounts, except to the extent such proceeds (i) may be so invested
                  for an initial temporary period until needed for the pmpose for which the HI'A BAB
                  Note is being issued, (ii) may be so used in making investments of a bona fide debt
                  service :fund, or (iii) may be invested in obligations issued by the United States Treasury.

                     (s) The Borrower agrees to maintain all r~rds and documents relating to the HTA
                 BAB Note, including but not limited to, all records of expenditure and investment of
                 proceeds, rebate exception analyses, rebate calculations, Forms 8038~T, rebate and yield
                 reduction payments and any other records relevant to compliance with the requirements
                 of the Code, for the period that the HI'A BAB Note is outstanding and for the three year
                 period following the final maturity or redemption date of any obligations issued to refund
                 the HIA BAB Note.

              16. The Bm:rower waives the requirements of demand, presentment, protest, notice of
                  dishonor,_ and, in general, any other legal formality.

              17. Any notices which niay be given to either party hereunder shall be in writing, and if
                  addressed _to the Lender, sent to the offices of the Lender located at Roberto S.inchez
                  Vilella Government Center, de Diego Avenue, San Juan, Puerto Rfoo, 00940, Attention:
                  Executive Vice President of Financing and Treasury, or to such other address or person
                  as the Lender may hereafter notify the Borrower in Mi.ting, and if addressed to the
                  Borrower, sent to the address of the Borrower: Puerto Rico Highway and Transportation
                  Authority, Roberto Sanchez Vilella Government Center, de Diego Avenue, San Juan,
                  Puerto Rico, 00940, Attention: Executive Director, or such other address or person as the
                  Borrower may hereafter notify the Lender in writing. Any such notice, if delivered
                  personally or by facsimile transmission, shall be effective on the date when given, and if
                  sent by mail, shall be effective three (3) Banking Days after posting.

              18. This Loan Agreement, together with the Note, the authorizing resolutions and the other
                  documents delivered by the parties in connection with the closing of the Loan, expresses
                  the entire agreement of the parties with respect to the transactions contemplated hereby.




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              19. This Loan Agreement shall be binding upon and inure to the benefit of the Borrower and
                  the Lender and their respective successors and assigns. The Lender may assign to any
                  other financial institution all or any part of, or any interest in, the Lender's right
                  hereunder and in the Advances, and to the extent of such assignment, such assignee shall
                  have the same rights against the Borrower hereunder as does the Lender. The Borrower
                  may not assign any of its rights nor delegate any of its obligations hereunder without the
                  Lender's prior written consent. This Loan Agreement shall be governed by, and the
                  rights and obligations of the parties hereunder shall be construed in accordance with, the
                  laws of the Commonwealth of Puerto Rico.


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           IN WITNESS THEREOF, the Borrower and the Lender have caused thls Agreement to be
           executed and delivered by their respective officers thereunto duly authorized, as of the date first
           above written.


           GOVERNMENT DEVELOPMENT BANK PUERTO RICO HIGHWAY AND
           FOR PUERT  CO               TRANSP..,_..-1!.w>-••"ON AUTHORITY


                                                              By: ""T:"~,rlj!:-::,::----:--::--~ ----
                                                   A-                      n ~- Hernandez Gregorat
                                                   mMCfflg            Secretary of Transportation and Public
                   •   Trel'!Sffly ~                                  Works and Executive Director



           Affidavit No.   \1 U'
                  Acknowledged and subscribed before me by Ruben A. Hemfuldez Gregorat as Secretary
           of Transportation and Public Works and Executive Director of the Puerto Rico Highway and
           Transportation Authority, of legal age, married and resident of Guaynabo, Puerto Rico, who is
           personally known to me.

                   In San Juan, Puerto



                                                                           Notary Pufilic

           Affidavit No. {\l...,                                  I   nr--;,     \1 1 I
                                                                 \I~\..,- b,.J:o.. V\~
                   AcknowledgMdl§.1:Wl!Cribed before me by l<effll'lfldo L. DMHe Hema-ii!i, as Executive
           Vice President of ii.sa;aqm"g~1Tuea,sl:l.fY of Government Development Bank for Puerto Rico, of
           legal age, married and residen             , Puerto Rico, who is personally known to me.

                  In San Juan,




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